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Sheet I - Amended Judgment in a Criminal Case with Supervised Release (Rev. 11/20 II)  6        Page I of 6



                                         United States District Court
                                                            District of Maryland
            UNITED STATES OF AMERICA                                           (SECOND) AMENDED JUDGMENT IN A CRIMINAL                                      CASE
                                                                               (For Offenses Committed on or After November I, 1987)
                                                                               Case Number: RWT 8:04-cr-0235-009
                                    v.
                                                                               USM Number: N/A
                                                                               Defendant's Attorney: Mirriam Seddiq, Esq.
                          LAVON DOBIE
                                                                               Assistant U.S. Attorney: Deborah Johnston, Esq.
                                                                               Date of Original Judgment: November 19,2010
                                                                               (ordateof lastamended
                                                                                                   judgment)           ---JILED
Reason for Amendment:                                                                                                             LOO~c   -'.f1.,-;l'~u
                                                                                                                                                        c'r-",
                                                                                                                                                      C"'-r.
                                                                                                                       --          -il~D_ I /           r:c('!,:",~"
IZI Correction of Sentence on Remand
D Reduction of Sentence for Changed Circumstances (Fed.R.Crim.P.35(b»                                                        NOV 2 9 ;~,-                        ...
                                                                                                                                                                  ~:i

D Correction of Sentence by Sentencing Court (Fed.R.Crim.P.35(a»
o   Correction of Sentence for Clerical Mistake (Fed.R.Crim.P.36)
D Modification of Supervision Conditions (18 U.S.c. S 3563(c) or 3583(e»                                          .v
D Modification of Imposed Term of Imprisonment for Extraordinary and
    Compelling Reasons (l8U.S.C. S 3582(c)(I»
D Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
    to the Sentencing Guidelines (18 V.S.c. S 3582(c)(2»
D Direct Motion to District Court Pursuant to:
      o   28 U.S.c. S 2255;
    D 18 U.S.c. S 3559(c)(7); or
    D Modification of Restitution Order
D Order of Court
THE DEFENDANT:
D pleaded guilty to count(s) __    '
D pleaded nolo contendere to count(s)                        , which was accepted by the cOUl1.
IZI was found guilty on count(s)             I, 34, 47, 50, 53, 57 & 61 of the Fifth Superseding Indictment after a plea of not guilty.
                                                                                                     Date                    Count
  Title & Section                                    Nature of Offense                        Offense Concluded           Number(s)
     21 U.S.C. 846                 Conspiracy to distribute and Possess with Intent to Distribute           06/01/04                                I
                                                       Controlled Substances
                                Use of a Communications Device to Facilitate Narcotics Trafficking          05118104                  34,47,50,53        & 57
    21 U.S.c. 843(b)

                                Possession of a firearm in Furtherance of a Drug Trafficking Crime                                              61
     18 U.S.c. 924 (c)                                                                                      06/01/04


        The defendant     is adjudged   guilty of the offense(s)  listed above and sentenced   as provided  in pages 2
through     6     of this judgment.   The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as modified
by U.S. v. Booker, 125 S. Ct. 738 (2005).

D The defendant has been found not guilty on count(s)                               _
IZI The Original, First, Second,            Third and Fourth Superseding                Indictment   as to this defendant    only are dismissed                   on the
    motion of the United States.

    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.
                                                    _November 20, 2012



                                                              ~gme:~1-a~~~{-Zo
                                                                             United States District Judge
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Sheet 2 - Amended Judgment in a Criminal Case with Supervised Release (Rev. 11/2011) Judgment Page 2 of 6

DEFENDANT: LAVON DOBIE                                                                          CASE NUMBER: RWT 8:04-cr-0235-009


                                                               IMPRISONMENT

    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of 110 months as to count 1; 48 months as to each of counts 34, 47, 50, 53 and 57 concurrent to
count 1 and 60 months as to count 61 consecutive to all other counts for a total of 170 months.

o The court makes the following recommendations to the Bureau of Prisons:


IZI The defendant is remanded to the custody of the United States Marshal.

o The defendant shall surrender to the United States Marshal for this district:
     o at          a.m.lp.m. on       _
     o as notified by the United States Marshal.
o The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of
     Prisons at the date and time specified in a written notice to be sent to the defendant by the United States
     Marshal. If the defendant does not receive such a written notice, defendant shall surrender to the United
     States Marshal:

     o before 2 p.m. on                    _
     o

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.c. ~3146. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.c. ~3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.c. ~3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.
                                                                       RETURN

1have executed this judgment as follows:


     Defendant delivered on                        to             at            , with a certified copy of this judgment.



                                                                          UNITED STATES MARSHAL

                                                                By:
                                                                          DEPUTY U.S. MARSHAL
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DEFENDANT: LA VON DOBIE                                                                       CASE NUMBER: RWT 8:04-cr-0235-009



                                                        SUPERVISED RELEASE
    Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years as
to each of counts I and 6 I and one (I) year as to each of counts 34, 47, 50, 53 and 57. All counts are concurrent for a
total of 5 years .

The defendant shall comply with all of the following conditions:

   The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

                     A.       STATUTORY                  CONDITIONS                    OF SUPERVISED RELEASE
1) The defendant shall not commit any federal, state or local crime.
2) In any felony case, the defendant shall not possess a firearm or ammunition as defined in 18 U.S.C. S921.
3) The defendant shall not illegally use or possess a controlled substance.
4) The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
   periodic drug tests thereafter, as directed by the probation officer.
o The above drug testing condition is suspended based on the court's determination that the defendant
   poses a low risk of future substance abuse. (Check, if applicable.)
5) Pursuant to Pub. Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of
   2004, if applicable, the defendant shall cooperate in the collection of DNA while incarcerated in the Bureau
   of Prisons, or as directed by the probation officer.
6) If this judgment imposes any criminal monetary penalty, including special assessment, fine, or restitution, it
   shall be a condition of supervised release that the defendant pay any such monetary penalty that remains
   unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments
   set forth in the Criminal Monetary Penalties sheet of this judgment. The defendant shall notify the court of
   any material change in the defendant's economic circumstances that might affect the defendant's ability to
   pay restitution, fines, or special assessments.

                                B.       STANDARD CONDITIONS                              OF SUPERVISION
I)  The defendant shall not leave the judicial district without the permission of the court or probation officer;
2)  The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)  The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)  The defendant shall support his or her dependents and meet other family responsibilities;
5)  The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
    acceptable reasons;
6) The defendant shall notify the probation officer ten days prior to any change in residence or employment;
7) The defendant shall refrain from excessive use of alcohol;
8) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any persons
    convicted of a felony unless granted penn iss ion to do so by the probation officer;
10) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
    any contraband observed in plain view of the probation officer;
II) The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer;
12) The defendant shall notify the probation officer within 72 hours of being charged with any offense, including a traffic offense;
13) The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
    permission of the court;
14) As directed by the probation officer, the defendant shall notify third parties of risks that .may be occasioned by the defendant's
    criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
    confirm the defendant's compliance with such notification requirement.
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Sheet 3.01 - Amended Judgment in a Criminal Case with Supervised Release (Rev. 11/2011)
DEFENDANT:          LA VON DOBIE                                                          CASE NUMBER: RWT 8:04-cr-0235-009




                                                    C. SUPERVISED RELEASE
                                                    ADDITIONAL CONDITIONS



1. The defendant shall satisfactorily participate in a treatment program approved by the probation officer
relating to substance and/or alcohol abuse, which may include evaluation, counseling, and testing as deemed
necessary by the probation officer.

2. The defendant shall provide the probation officer with access to any requested financial information.

3. The defendant shall not incur new credit charges or open additional lines of credit without approval of the
probation officer.

4. The defendant shall pay the special assessment ($700) as imposed herein.
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Sheet 5 Part A - Amended Judgment in a Criminal Case with Supervised Release (Rev. 11/2011)   Page 5 of 6

DEFENDANT:          LAVON DOBIE                                                                      CASE NUMBER: RWT 8:04-cr-0235-009


                                            CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 5B.


                         Assessment                                                                             Restitution
TOTALS     $ 700.00                                                        $                                $
D CVB Processing Fee $25.00

D      The determination of restitution is deferred until                              _      An Amended Judgment in a Criminal Case (AO 245C)
                                                                                              will be entered after such determination.

D     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. 9 3664(i), all nonfederal
    victims must be paid before the United States is paid.
Name of Payee                           Total Loss*                 Restitution Ordered             Priority or Percentage
                                                                       o                                    o




TOTALS                                 $                               o          $                         o

D       Restitution amount ordered pursuant to plea agreement              $                            _

D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.c. 9 3612(f). All of the payment options on Sheet 6
       may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. S 3612(g).

D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        D the interest requirement is waived for the             D      fine    D restitution
        D the interest requirement for the           D
                                                  fine   D restitution is modified as follows:
* Findings for the total amount oflosses are required under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed
on or after September 13,1994, but before April 23, 1996.
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DEFENDANT:          LA VON DOBIE                                                                 CASE NUMBER: RWT 8:04-cr-0235-009


                                                     SCHEDULE OF PAYMENTS
  Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    IZI In full immediately.

B    0 $                immediately, balance due (in accordance with C, D, or E); or

C     0 Not later than                ; or

D     0 Installments to commence                      day(s) after the date of this judgment.

E     0 In             (e.g. equal weekly, monthly, quarterly) installments of$                   over a period of       year(s) to commence
           when the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary
penalties shall be due during the period of imprisonment. All criminal monetary penalties except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid:

      o in equal monthly installments during the term of supervision; or
      o on a nominal payment schedule of$                         per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's              financial
circumstances. .


Special instructions regarding the payment of criminal monetary penalties:
o   Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o The defendant shall pay the cost of prosecution.
o The defendant shall pay the following court cost(s):
o The defendant shall forfeit the defendant's interest in the following property to the United States:
